   Case: 1:14-cv-08461 Document #: 284 Filed: 12/29/17 Page 1 of 5 PageID #:5866



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

KEITH SNYDER and SUSAN
MANSANAREZ, individually and on behalf of              CONSOLIDATED NO. 1:14-cv-08461
all others similarly situated,
                                                       Class Action
                      Plaintiffs,
       v.                                              Jury Trial Demand

OCWEN LOAN SERVICING, LLC,                             Honorable Matthew F. Kennelly

                      Defendant.

TRACEE A. BEECROFT,                                    Case No.: 1:16−cv−08677

                      Plaintiff,

       v.

OCWEN LOAN SERVICING, LLC,

                      Defendant.


                          MOTION FOR STATUS CONFERENCE

       Terrell Marshall Law Group PLLC and Burke Law Offices, LLC respectfully request that

the Court hold a status conference in this case on January 4, 2018 at 9:30 a.m.

       RESPECTFULLY SUBMITTED AND DATED this 29th day of December, 2017.


                                             TERRELL MARSHALL LAW GROUP PLLC

                                             By: /s/ Beth E. Terrell, Admitted Pro Hac Vice
                                                Beth E. Terrell, Admitted Pro Hac Vice
                                                Email: bterrell@terrellmarshall.com
                                                Adrienne D. McEntee, Admitted Pro Hac Vice
                                                Email: amcentee@terrellmarshall.com
                                                936 North 34th Street, Suite 300
                                                Telephone: (206) 816-6603
                                                Facsimile: (206) 319-5450
Case: 1:14-cv-08461 Document #: 284 Filed: 12/29/17 Page 2 of 5 PageID #:5867




                                      Alexander H. Burke, #6281095
                                      Email: aburke@burkelawllc.com
                                      Daniel J. Marovitch, #6303897
                                      Email: dmarovitch@burkelawllc.com
                                      BURKE LAW OFFICES, LLC
                                      155 North Michigan Avenue, Suite 9020
                                      Chicago, Illinois 60601
                                      Telephone: (312) 729-5288
                                      Facsimile: (312) 729-5289

                                   Attorneys for Plaintiffs




                                    -2-
   Case: 1:14-cv-08461 Document #: 284 Filed: 12/29/17 Page 3 of 5 PageID #:5868



                                  CERTIFICATE OF SERVICE
       I, Beth E. Terrell, hereby certify that on December 29, 2017, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the following:

               Mark Ankcorn, #1159690
               Email: mark@ankcornlaw.com
               ANKCORN LAW FIRM PLLC
               200 West Madison Street, Suite 2143
               Chicago, Illinois 60606
               Telephone: (321) 422-2333
               Facsimile: (619) 684-3541

               Guillermo Cabrera
               Email: gil@cabrerafirm.com
               Jared Quient, Admitted Pro Hac Vice
               Email: jared@cabrerafirm.com
               THE CABRERA FIRM, APC
               600 West Broadway, Suite 700
               San Diego, California 92101
               Telephone: (619) 500-4880
               Facsimile: (619) 785-3380

               Mark L. Heaney
               Email: mark@heaneylaw.com
               HEANEY LAW FIRM, LLC
               601 Carlson Parkway, Suite 1050
               Minnetonka, Minnesota 55305
               Telephone: (952) 933-9655

               Ann Marie Hansen
               Email: annmarie@ankcornlaw.com
               80 Halston Parkway
               East Amherst, New York 14051
               Telephone: (702) 755-5678

               Attorneys for Plaintiffs




                                               -3-
Case: 1:14-cv-08461 Document #: 284 Filed: 12/29/17 Page 4 of 5 PageID #:5869



         Chethan G. Shetty
         Email: cshetty@lockelord.com
         Simon A. Fleischmann
         Email: sfleischmann@lockelord.com
         Thomas J. Cunningham
         Email: tcunningham@lockelord.com
         David F. Standa
         Email: dstanda@lockelord.com
         LOCKE LORD LLP
         111 South Wacker Drive
         Chicago, Illinois 60606
         Telephone: (312) 443-0700
         Facsimile: (312) 443-0336

         Brian V. Otero, Admitted Pro Hac Vice
         Email: botero@hunton.com
         Stephen R. Blacklocks, Admitted Pro Hac Vice
         Email: sblacklocks@hunton.com
         Ryan A. Becker, Admitted Pro Hac Vice
         Email: rbecker@hunton.com
         HUNTON & WILLIAMS LLP
         200 Park Avenue, Suite 52
         New York, New York 10166
         Telephone: (212) 309-1000
         Facsimile: (212) 309-1100

         Attorneys for Defendant

         Frank A. Hirsch, Jr., Admitted Pro Hac Vice
         Email: frank.hirsch@alston.com
         Kelsey L. Kingsbery
         Email: Kelsey.kingsbery@alston.com
         ALSTON & BIRD LLP
         4721 Emperor Boulevard, Suite 400
         Durham, North Carolina 27703
         Telephone: (919) 862-2200




                                       -4-
Case: 1:14-cv-08461 Document #: 284 Filed: 12/29/17 Page 5 of 5 PageID #:5870



         Kenneth M. Kliebard
         Email: Kenneth.kliebard@morganlewis.com
         William J. Kraus
         Email: William.kraus@morganlewis.com
         MORGAN LEWIS & BOCKIUS LLP
         77 W. Wacker Drive
         Chicago, Illinois 60601
         Telephone: (312) 324-1000

         Attorneys for Movants Wilmington Trust, N.A., Deutsche Bank National Trust
         Company and U.S. Bank, N.A.

         E. Lynette Stone
         Email: els@thestonelawoffice.com
         THE STONE LAW OFFICE
         2101 Cedar Springs Road, #1050
         Dallas, Texas 75201
         Telephone: (972) 383-9499

         Attorney for Intervenor-Plaintiff Zachariah C. Manning

   DATED this 29th day of December, 2017.

                                     TERRELL MARSHALL LAW GROUP PLLC

                                     By: /s/ Beth E. Terrell, Admitted Pro Hac Vice
                                          Beth E. Terrell, Admitted Pro Hac Vice
                                          Email: bterrell@terrellmarshall.com
                                          936 North 34th Street, Suite 300
                                          Seattle, Washington 98103-8869
                                          Telephone: (206) 816-6603
                                          Facsimile: (206) 319-5450

                                     Attorneys for Plaintiffs




                                       -5-
